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                                                                                 Chris Kachouroff <chris@mck-lawyers.com>



12th Congressional District v. Raffensperger, et al.
1 message

Chris Kachouroff <chris@mck-lawyers.com>                                                Wed, Dec 9, 2020 at 7:07 PM
To: brad@sos.ga.gov, soscontact@sos.ga.gov, Rebecca.sullivan@doas.ga.gov, david@ewlawllc.com,
mmashburn@aldridgepite.com, ale@hrflegal.com, RichmondElections@augustaga.gov
Cc: Patrick McSweeney <patrick@mck-lawyers.com>, Robert Cynkar <rcynkar@mck-lawyers.com>, jecvines@vineslaw.com
Bcc: David Shafer <david@gagop.org>, jimcox1419@me.com, cathy latham <cathyalatham@gmail.com>,
brian@tuckersecurity.com, "Kaye, Rich" <Rich.Kaye@btlaw.com>, Ted Metz <tedmetz@gmail.com>, Buck Moon
<b.moon101@gmail.com>, "William J. Olson" <wjo@mindspring.com>, drr@mpac.pro, Vincent Apesa
<vincent.apesa@broadleaf-inc.com>, Kay Godwin <kaygodwin46@gmail.com>

 Dear Secretary Raffensperger, members of the Georgia State Election Board, and members of the Richmond Board of
 Elections,

 The purpose of writing to you is twofold. First, we have filed a federal suit for acts undertaken in your official capacities.
 To that end, you will find attached a courtesy copy of the suit that we filed today along with our emergency request for a
 TRO in the U.S. District Court for the Southern District of Georgia . I expect that a permanent case number will be
 assigned tomorrow.

 Second, we would appreciate it if you would kindly waive service. If so, please let me know and I will send the
 requisite form for that purpose. Otherwise, the suit will be processed and sent out for private service.

 If you have any questions or concerns, do not hesitate to contact me.

 Sincerely,

 Chris Kachouroff
 --
 CHRISTOPHER I. KACHOUROFF, ESQ.
 MCSWEENEY, CYNKAR & KACHOUROFF, PLLC
 13649 Office Place, Suite 101
 Woodbridge, Virginia 22192
 703.621.3300 (0)
 703.853.0160 (c)


      2020.12.09 Filed Complaint and TRO_12th Con. Distr. Rep. Cmte, et.al vs. Georgia SoS.pdf
      4296K




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Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0262595722

Weight
4.40 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 12:11 P.M.

Delivered To
AUGUSTA, GA, US

Received By
BAILEY

Left At
Front Desk

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:46 P.M. EST




                                                                                                   B-1
             Case 1:20-cv-00180-JRH-BKE Document 23-1 Filed 12/15/20 Page 3 of 16


Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0262594590

Weight
0.80 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 1:56 P.M.

Delivered To
ATLANTA, GA, US

Received By
ID Verified

Left At
Front Desk

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:47 P.M. EST




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Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0295926795

Weight
0.80 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 9:47 A.M.

Delivered To
ATLANTA, GA, US

Received By
DOOR

Left At
Office

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:47 P.M. EST




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             Case 1:20-cv-00180-JRH-BKE Document 23-1 Filed 12/15/20 Page 5 of 16


Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0262592332

Weight
0.80 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 12:45 P.M.

Delivered To
ATLANTA, GA, US

Received By
MCM

Left At
Front Desk

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:47 P.M. EST




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             Case 1:20-cv-00180-JRH-BKE Document 23-1 Filed 12/15/20 Page 6 of 16


Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0262591208

Weight
0.80 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 10:20 A.M.

Delivered To
ATLANTA, GA, US

Received By
CONVID IVEY

Left At
Inside Delivery

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:48 P.M. EST




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Proof of Delivery
Dear Customer,
This notice serves as proof of delivery for the shipment listed below.

Tracking Number
1ZW0200F0295923403

Weight
9.20 LBS

Service
UPS 2nd Day Air®

Shipped / Billed On
12/10/2020

Delivered On
12/14/2020 12:01 P.M.

Delivered To
ATLANTA, GA, US

Received By
FRT DESK

Left At
Inside Delivery

Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
the last 120 days. Please print for your records if you require this information after 120 days.
Sincerely,
UPS
Tracking results provided by UPS: 12/14/2020 5:48 P.M. EST




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                                                                       C-2
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